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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

  SOUTH SPANISH TRAIL, LLC.,
  a Florida limited liability corporation,      CASE NO: 9:21-CV-80728-DMM

         Plaintiff,
  v.
  GLOBENET CABOS SUBMARINOS
  AMERICA, INC. a Delaware for-profit
  corporation, CARIBBEAN CROSSINGS
  LTD., INC.; and JOHN DOES 1-100,

        Defendants.
  _________________________________________/
  GLOBNET CABOS SUBMARINOS
  AMERICA, INC. and CARIBBEAN
  CROSSING LTD., INC.,

         Counter-Plaintiffs,
  v.
  SOUTH SPANISH TRAIL, LLC, BOARD OF
  TRUSTEES OF THE INTERNAL
  IMPROVEMENT TRUST FUND OF THE
  STATE OF FLORIDA,

        Counter/Third-Party Defendants,
  _________________________________________/
  SOUTH SPANISH TRAIL, LLC,
       Cross-Plaintiff,
  v.
  BOARD OF TRUSTEES OF THE INTERNAL
  IMPROVEMENT TRUST FUND OF THE
  STATE OF FLORIDA, UNITED STATES
  OF AMERICA,

        Cross-Defendants.
  _________________________________________/
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     JOHN DOE DEFENDANTS AMAZON, TWITCH, AND MICROSOFT’S JOINT
   MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT FOR DAMAGES AND
                   INJUNCTIVE RELIEF WITH PREJUDICE

           Defendants John Doe # 3 n/k/a Amazon Corporate LLC*, John Doe # 4 n/k/a Twitch
  Interactive Inc.*, and John Doe # 20 n/k/a Microsoft Corporation (hereinafter the “John Does”),
  through their undersigned counsel, respectfully submit this Motion to Dismiss Plaintiff South
  Spanish Trail, LLC’s (“SST”) Amended Complaint for Damages and Injunctive Relief (“Amended
  Complaint” or “Am. Compl.”).1 As the John Does demonstrate below, this case involves a serial
  plaintiff putting forth a shotgun pleading in a strained attempt to attach liability where it plainly
  does not exist and, pursuant to Fla. R. Civ. P. 1.140(b)(6) and/or Fed. R. Civ. P. 12(b)(6), the
  Amended Complaint must be dismissed with prejudice.2

                                         I.    INTRODUCTION

           Accepting Plaintiff’s theory of liability in this case would dramatically extend the scope of
  existing law and expose to potential liability a nearly limitless group of data users, including this
  Court. To put it simply, in the information age, if an entity or individual commits a “trespass”
  merely by making use of data that at some point traversed cables that person or entity does not
  own, everyday electronic transactions would result in unwitting liability.
           However, the law does not support the “gotcha” liability theory that Plaintiff advances as
  to the John Does. South Spanish Trail, a serial plaintiff, allegedly acquired two plots of submerged
  land located in the Intracoastal Waterway (“ICW”) in Palm Beach County, with the sole intent of
  filing the present lawsuit contending a certain cable system located in the ICW is trespassing on
  its newly acquired property; the same premise upon which it has pursued claims in numerous other
  lawsuits throughout South Florida. Taking this a step further, SST has now named thirty-seven
  John Does in this suit based on the erroneous assertion that “[e]ach transmission … of bits of
  data/spectrum through [a] [c]able [s]ystem constitutes unauthorized entry, occupation, and/or use


  1
      A true and correct copy of the Amended Complaint is attached hereto as Exhibit A.
  2
    On April 9, 2021, the instant motion was previously filed in the state court before removal of the
  case to the United States District Court Southern District of Florida on April 16, 2021.
  Accordingly, this motion and supporting memorandum of law is being re-filed in accordance with
  Local Rules 5.1, 7.1, and 7.2. No response to the motion had been filed in state court before
  removal.

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  of [its] [p]roperty.” See, e.g., Am. Compl. ¶ 125. Having suffered no injury, SST asks this Court
  to adjudicate a wholly new tort of Plaintiff’s own creation, and award it damages under an
  unrecognized theory of recovery. Allowing a frivolous case like this to continue forward on the
  merits would set a dangerous precedent for litigation trolls statewide.
         Indeed, Florida law plainly requires a physical intrusion in order to assert a claim for
  trespass, and not a single court in Florida has held otherwise. See infra Section (IV)(B)(i). On
  that basis alone, the Court should dismiss this action pursuant to Fla. R. Civ. P. 1.140(b)(6) and/or
  Fed. R. Civ. P. 12(b)(6).3 But even if this Court were inclined to recognize a claim for intangible
  trespass without a physical intrusion, which no other Florida court has done, it should adopt the
  law of its sister courts, all of which would dismiss SST’s claims as a matter of law because fiber-
  optic signal transmissions neither invade the exclusive possession of land nor cause physical injury
  to it. See infra Section (IV)(B)(ii). Under either scenario, Plaintiff’s claim for trespass against the
  John Does necessarily fails.
         So too does its claim of ejectment, which also requires a physical intrusion, and its claim
  for an injunction, which itself is not an independent cause of action. See infra Section (IV)(D).
  And equitable claims for unjust enrichment are disallowed when they are premised on the same
  factual underpinnings of redundant legal claims, such as trespass. See infra id. As a threshold
  matter, however, SST fails to identify any concrete, distinct, and redressable injury that it has
  suffered at the hands of the John Does. See infra Section (IV)(A). Any one of the aforementioned
  deficiencies is fatal to Plaintiff’s claims, and all of them warrant dismissal with prejudice.

                                  II.    FACTUAL BACKGROUND

         SST is a serial plaintiff, whose sole purpose is to seek out legal challenges and shake-down
  deep pockets.4 Between December 2016 and March 2017, SST allegedly acquired by quitclaim

  3
    All of SST’s claims rise and fall with its claim for trespass. See Am. Compl. ¶ 155 (seeking
  ejectment because the John Does allegedly “possess the Property” by non-consensually
  “transmit[ting] bits of data/spectrum across the Property”); id. ¶ 190 (basing its injunctive relief
  count on the assertion that “continuing, future, and/or additional trespasses will occur unless John
  Does 1-100 use of the Cable System is enjoined”); id ¶ 213 (alleging that the John Does have been
  unjustly enriched “[a]s a direct and proximate result of John Does 1-100’s trespass upon,
  occupation, and or use of the Property”).
  4
   Plaintiff’s principal, William Swaim, has filed many similar actions in both Broward and Palm
  Beach County involving other properties submerged beneath and abutting the ICW.

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  deed, two parcels of real property located entirely within the boundaries of the ICW in Palm Beach
  County, Florida (the “Submerged Lands”). See Am. Compl. ¶¶ 42-45, 53(s), 55(w). Less than
  two months later, before the ink on its title transfers had time to dry, SST demanded compensation
  for certain subsea fiber-optic cables allegedly located beneath the Submerged Lands that have
  traversed the ICW for up to 14 years pursuant to government easements and permits. See id. ¶¶ 6,
  9, 10, 53, 61, 62 and Ex. A. This led to a series of legal actions initiated in State Court in November
  and December of 2018. See Case Nos. 2018-CC-013927-XXXX-MB; 2018-CA-015897-XXXX-
  MB. On February 20, 2020, SST initiated the present lawsuit against Globenet Cabos Submarinos
  America Inc. (“Globenet”) and Caribbean Crossings, Ltd., Inc. (“Caribbean”) (collectively the
  “Primary Defendants”), who own and operate that fiber-optic cable system.
         On July 28, 2020, SST amended its complaint to add a series of defendant John Does,
  which are companies that allegedly use the cable network “to transmit bits of data/spectrum.” See
  Am. Compl. ¶ 4. At the time of the Amended Complaint, SST acknowledged that the identities of
  these companies were “as yet unidentified” and “cannot [be] confirm[ed].” See id. ¶¶ 4–5.
  Nevertheless, SST proceeded to speculate as to which companies they “could include,” listing nine
  well-known brand names related to communications, software, social media, and entertainment.
  See id. ¶ 4. According to SST, “transmitting bits of data/spectrum through the Cable System” is a
  sufficient basis for the John Does to incur liability. See id. ¶ 5. The Amended Complaint puts
  forth four counts against the John Does: Trespass (Count III), Ejectment (Count VI), Injunctive
  Relief (IX), and Unjust Enrichment (Count XII). See id. ¶¶ 123–131, 150–157, 185–196, 211–
  217. Because SST’s Amended Complaint lacks standing, and because none of its claims are
  cognizable under Florida law, the John Does move to dismiss.

                                     III.    LEGAL STANDARD

         Federal Rule of Civil Procedure 12(b)(6) authorizes a court to dismiss a cause of action
  that fails “to state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). To avoid
  dismissal under Rule 12(b)(6), the complaint must contain “sufficient factual matter, accepted as
  true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678
  (2009) (internal citation omitted). “A claim has facial plausibility when the plaintiff pleads factual
  content that allows the court to draw the reasonable inference that the defendant is liable for the




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  misconduct alleged.” Id. (emphasis added). “Threadbare recital of the elements of a cause of
  action, supported by mere conclusory statements, do not suffice.” Id. Claims for liability that are
  “legally erroneous” and “not otherwise established by statutory or common law” cannot survive a
  motion to dismiss. See Pollock v. Fla. Dep’t of Highway Patrol, 882 So. 2d 928, 937 (Fla. 2004).

                      IV.    ARGUMENT AND MEMORANDUM OF LAW

         A. SST Lacks Standing Because It Fails to Allege a Cognizable Injury-In-Fact

         For standing to litigate a matter before this Court, the plaintiff’s “‘interest cannot be
  conjectural or merely hypothetical[,]’ nor can it be ‘indirect, inconsequential, or contingent,’”
  Giuffre v. Edwards, 226 So. 3d 1034, 1039 (Fla. 4th DCA 2017) (quoting Sweetwater Country
  Club Homeowners’ Ass’n v. Huskey Co., 613 So. 2d 936, 939 (Fla. 5th DCA 1993)). Accordingly,
  the Court must consider “three requirements that constitute the irreducible constitutional minimum
  for standing.” Id. (quoting State v. J.P., 907 So. 2d 1101, 1113 n.4 (Fla. 2004)). “First, a plaintiff
  must demonstrate an injury in fact, which is concrete, distinct and palpable, and actual or
  imminent. Second, a plaintiff must establish a causal connection between the injury and the
  conduct complained of. Third, a plaintiff must show a substantial likelihood that the requested
  relief will remedy the alleged injury in fact.’” Id.; see also Disc. Sleep of Ocala, LLC v. City of
  Ocala, 245 So. 3d 842, 849 (Fla. 5th DCA 2018) (“[T]he injury must be fairly traceable to the
  challenged action; and the injury must be likely redressable by a favorable decision.”).
         Here, SST’s alleged injury fails to satisfy all three requirements.          SST’s Amended
  Complaint asserts that the “transmission [] of bits of data/spectrum through the Cable System”
  ultimately deprives SST “of the full use and enjoyment of the Property,” resulting in “damages,”
  “diminution in the value of the Property,” “diminished rental value,” and “deprivation of their right
  to determine possession and use of the Property.” See, e.g., Am. Compl. ¶¶ 125–127. However,
  the “transmission [] of bits of data/spectrum” does not and cannot result in those deprivations, let
  alone any actual injury to real property. SST does not allege that the electromagnetic properties
  of the transmitted signals have damaged its Submerged Lands or any alleged improvements
  thereto. SST also does not aver that the signals emit damaging effects that have harmed persons
  residing on the Submerged Lands—nor could it given that these are submerged lands in the ICW.
  Those examples of concrete harm flowing from intangible occurences, in theory, may amount to
  injuries-in-fact. But SST alleges nothing of the sort; its alleged injury is purely hypothetical. See



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  DeSantis v. Fla. Educ. Ass’n, 306 So. 3d 1202, 1214 (Fla. 1st DCA 2020) (distinguishing a “purely
  hypothetical” injury from actual allegations of a “concrete, palpable injury sufficient to confer
  standing”).
         It is hard to imagine how a signal transmission, like the ones at issue in this case inside a
  subsea conduit, could possibly result in any infringement on the use and enjoyment of the
  Submerged Lands or diminution in that Submerged Lands value. By way of example, pretend a
  person makes a call using their cellular phone, and between their phone and the nearest cell tower
  are a dozen property owners; would each of those property owners have standing to bring a trespass
  claim because the cellular signal traversed their airspace in order to reach the cell tower? Of course
  not, because they have suffered no actual injury. Signal transmissions are prevalent everywhere
  (radio waves, cellular signals, Wi-Fi, Bluetooth, GPS signals, radar, etc.); they are incorporeal and
  imperceptible; and they do not impact persons or property.5 It would be irrational for the
  hypothetical property owners—as SST does here—to allege that their use and enjoyment has been
  hindered or that their property value has diminished because of the passing, invisible signal.6 Such
  claims are facially absurd, and no construction of facts could adequately support them. See McCall
  v. Scott, 199 So. 3d 359, 366 (Fla. 1st DCA 2016) (explaining that standing cannot confer from
  erroneous legal theories or “conclusory and speculative” allegations of harm).
         Likewise, the injury alleged against the John Does is not “concrete, distinct or palpable.”
  Giuffre, 226 So. 3d at 1039 (emphasis added). SST’s entire dispute revolves around the presence


  5
    See generally San Diego Gas & Elec. Co. v. Superior Ct., 13 Cal. 4th 893, 936–37 (Cal. 1996)
  (describing “electric and magnetic fields” as “akin to television and radio waves” in that they are
  “wholly intangible phenomena” that “cannot be directly perceived by the senses” and cannot cause
  “physical damage to property” or persons because of “the low frequency and consequent[ly] low
  energy of such fields”).
  6
    By way of another analogy to illustrate the absurdity of Plaintiff’s claims against the John Does,
  if the Court were to accept Plaintiff’s untenable legal theory of liability against the John Does for
  their mere “transmission [] of bits of data/spectrum,” then nothing would prevent Plaintiff from
  adding tens (if not hundreds) of thousands of vessel owners to this lawsuit merely because of their
  use of the ICW. Liability would attach under Plaintiff’s theory of liability to vessel owners for
  streaming music to their boats stereo system or accessing the internet from their cellular phones
  while cruising over or near the Submerged Lands on the ICW. Indeed, vessels emitting sonar
  frequencies in the ICW (to locate, fish, bait or structure in the water column), GPS signals (to
  navigate) or electromagnetic marine radar waves into the atmosphere (to detect other vessels, assist
  navigation or monitor the weather) over or near the Submerged Lands would risk being added to
  this lawsuit as a John Doe Defendant. This would be an absurd result.

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  of a physical subsea cable system allegedly located underground beneath the Submerged Lands in
  the ICW. But SST cannot identify a distinct injury based on the presence of “bits of data/spectrum
  through th[at] Cable System” that exists independent of the physical cable itself. See, e.g., Am.
  Compl. ¶ 125. Even if the cable’s presence could affect the value of the Submerged Lands or
  infringe on SST’s use and enjoyment, whether that cable system is currently transmitting data or
  not has no effect thereon. Indeed, signal transmissions are imperceptible, and SST offers no
  allegation that an individual on its Submerged Lands would even know when or if that cable system
  was active and transmitting signals. SST has not, and cannot, allege any concrete injury that is
  distinct from those alleged against the Primary Defendants. Accord Giuffre, 226 So. 3d at 1039.
         For this same reason, the cause of SST’s alleged injury cannot be reasonably traced to the
  John Does, nor can any judgment against the John Does independently redress that injury. See
  Disc. Sleep of Ocala, 245 So. 3d at 849. The John Does do not own, operate, or control the cable
  system at the heart of SST’s Amended Complaint. See DeSantis, 306 So. 3d at 1214 (finding no
  causal connection or redressability in an action challenging the state’s COVID-19 emergency
  orders when the decision to reopen schools rested with individual school districts—not the
  governor). Even if SST’s property interests have been impacted (which they have not), any
  purported impact resulted from the physical presence of the cable system—not the intangible and
  imperceptible signal transmissions allegedly passing through the cable. There exists no “causal
  connection between the injury” and the John Does’ supposed signal transmissions. Accord Giuffre,
  226 So. 3d at 1039; Disc. Sleep, 245 So. 3d at 849. Likewise, enjoining the John Does from
  “transmitting bits of data/spectrum,” cannot redress SST’s injury because termination of the signal
  transmissions does not impact or alter the physical trespass of the cable itself. SST cannot establish
  “a substantial likelihood” that its injury will be remedied by “the requested relief” independent
  from the relief it otherwise seeks from the Primary Defendants. Accord Giuffre, 226 So. 3d at
  1039; Disc. Sleep, 245 So. 3d at 849.
         Accordingly, SST has failed to allege a concrete, distinct, and redressable injury caused by
  the John Does.     Because SST lacks the constitutional minimum for standing, dismissal is
  warranted.




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         B. All of SST’s Claims Rely on Flawed Theories of Trespass that Lack Any Basis in
            Florida Law

         SST’s Amended Complaint asks this Court to adopt and adjudicate a theory of tort that has
  never been recognized by Florida law. Every other state court to review that theory—trespass by
  way of “bits of data/spectrum”—would foreclose recovery based on the facts alleged. Allowing
  the instant claims to proceed would violate all precepts of fairness and justice, and it would open
  the floodgates for frivolous litigation against every company, organization, governmental entity,
  and person that uses the technology to communicate.

            i.   SST’s Theory of Intangible Trespass is Legally Meritless

         Although Florida courts have never squarely addressed the issue of intangible trespass, the
  prima facie case for traditional trespass plainly requires a physical intrusion. “Trespass to real
  property has been defined as ‘an unauthorized entry onto another’s property.’” Coddington v.
  Staab, 716 So. 2d 850, 851 (Fla. 4th DCA 1998) (quoting Pearson v. Ford Motor Co., 694 So. 2d
  61, 69 (Fla. 1st DCA 1997)). As the body of Florida case law establishes, the term “entry”
  presupposes a physical entering of land or premises.7 See, e.g., id. (distinguishing the “invasion
  of right to privacy” from “trespass” when a tortfeasor physically entered an apartment); Nilsson v.
  Hiscox, 158 So. 2d 799, 799 (Fla. 1st DCA 1963) (involving a trespass of woodsmen who
  physically entered another’s land in search of timber); see also 75 Am.Jur.2d, Trespass § 35
  (“Because it is the right of the owner in possession to exclusive possession that is protected by an
  action for trespass, it is generally held that the intrusion of the property be physical and
  accomplished by a tangible matter. Thus, in order to be liable for trespass, one must intentionally
  cause some ‘substance’ or thing to enter upon another’s land.”). Of course, a physical entry is
  unnecessary when the tortfeasor’s conduct causes a tangible injury to the land or the owner’s
  property. See Guin v. City of Riviera Beach, 388 So. 2d 604, 606 (Fla. 4th DCA 1980) (“Trespass
  to real property is an injury to or use of the land of another by one having no right or authority.”)
  (emphases added); e.g., Brown v. Solary, 19 So. 161, 163 (Fla. 1896) (finding trespass for the
  “destructive” act of “mining and taking of phosphate from the [estate’s] soil itself”).

  7
    See also Prosser and Keeton on the Law of Torts § 13, at 71 (5th ed. 1984) (“While it is generally
  assumed and held that a personal entry is unnecessary for a trespass, the defendant’s act must result
  in an invasion of tangible matter. Otherwise, there would be no use or interference with
  possession.”).

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         With respect to the John Does, SST complains about the imperceptible “transmission [] of
  bits of data/spectrum through” a subsea cable system underground allegedly beneath the
  Submerged Lands in the ICW. Am. Compl. ¶ 125. SST’s Amended Complaint acknowledges that
  the cable system is neither owned nor operated by the John Does; SST’s sole theory is that the
  John Does transact for their data to be transmitted across it. See id. But “bits of data/spectrum”
  are obviously not physical or tangible intrusions that can enter a property. A signal crossing a
  cable is not a physical entry any more than a radio wave or cellular signal traveling over the
  immediate airspace or through the water column. And SST does not even attempt to allege that
  the “bits of data/spectrum” have caused some tangible injury to its land. This case does not involve
  electromagnetic burning, pollution, or any other alleged physical harm.             And because the
  “transmission [] of bits of data/spectrum” are not a physical invasion, they cannot constitute a
  trespass under Florida law. Accord Guin, 388 So. 2d at 606.
         But even if “bits of data/spectrum” could constitute a trespass solely because they pass
  along a physical cable, public policy and the efficiencies of judicial administration would counsel
  holding the cable owners and operators liable, not the signal transmitters. To hold otherwise would
  allow a property owner to file suit against every person making a phone call, which happens to
  route across a telephonic cable that allegedly trespasses on the owner’s property. See generally,
  e.g., HControl Holdings, LLC v. Bright House Networks, LLC, No. 8:13-cv-39, 2014 WL
  12573984, at *3 (M.D. Fla. July 22, 2014) (reviewing an action for trespass brought against a cable
  provider—not the owners of the 153 condominium units that were serviced by that provider).

           ii.   Even if Construed as a Matter of First Impression, SST’s Claim for Intangible
                 Trespass Still Warrants Dismissal

         Trespass under Florida common law requires a physical intrusion. But, to the extent that
  this Court considers intangible trespass to be unsettled law, and to the extent that this Court desires
  to consider SST’s claims as matters of first impression, those claims still fail.
         SST’s overarching theory against the John Does—trespass by way of “bits of
  data/spectrum”—is not new. This exact issue has been litigated in courts around the country. See
  In re WorldCom, Inc., 320 B.R. 772, 776 (Bankr. S.D.N.Y. 2005), aff’d, 339 B.R. 836 (S.D.N.Y.
  2006), aff’d, 546 F.3d 211 (2d Cir. 2008). A recent decision from the U.S. Court of Appeals for
  the Seventh Circuit is particularly instructive:




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                  Information passing through a cable could not independently be a
                  trespass…. Information passes across [plaintiff’s] land constantly:
                  over-the-air radio and TV signals, cell phone communications
                  (voice and data), microwaves, and more. None of that differs from
                  laser light travelling through glass fiber.

   West v. Louisville Gas & Elec. Co., 951 F.3d 827, 831 (7th Cir. 2020) (emphasis added). Indeed,
   courts have repeatedly found that “the transmission of the light signals through [a] fiber optic
   cable” does not independently constitute an actionable trespass. See WorldCom, 320 B.R. at 777–
   83 (reviewing and rejecting a claim of intangible trespass involving fiber-optic signals under
   Kansas and Alabama common law); West, 951 F.3d at 831 (holding the same under Kentucky
   common law); Int’l Paper Co. v. MCI WorldCom Network Servs., Inc., 442 F.3d 633, 636 (8th Cir.
   2006) (holding the same under Arkansas common law); Oxford v. Williams Companies, Inc., 137
   F. Supp. 2d 756, 761 (E.D. Tex. 2001) (holding the same under Texas common law).8
          Generally, “courts [have] only recognized tangible invasions as trespasses; intangible
   invasions (such as sound, odors, particles) were considered nuisances.” See WorldCom, 320 B.R.
   at 776; Maddy v. Vulcan Materials Co., 737 F. Supp. 1528, 1540 (D. Kan. 1990). This is because
   “[a] trespass is an invasion of the interest in the exclusive possession of land, as by entry upon it,”
   whereas “[a] nuisance is an interference with the interest in the private use and enjoyment of the
   land and does not require interference with the possession.” See Restatement of Torts 2d. § 821D,
   cmt. d. However, the few courts that permitted intangible invasions to constitute a trespass, still
   required that the intangible invasions “cause[] damage to the res.” See WorldCom, 320 B.R. at
   776 (citing Maddy, 737 F. Supp. at 1540); Wilson v. Interlake Steel Co., 32 Cal. 3d 229, 232–33
   (Cal. 1982) (collecting cases). Importantly, unlike traditional physical trespasses, courts do not
   presume damages for trespasses arising out of intangible intrusions. See WorldCom, 320 B.R. at



   8
     Although not involving light signals over fiber-optic cables, courts from other states have also
   applied this principle in analogous contexts. See, e.g., Beal v. W. Farmers Elec. Co-op., 228 P.3d
   538, 541 (Okla. Civ. App. 2009) (rejecting a trespass claim involving electrical transmissions
   across a power line because “intangible intrusions on land … are not actionable as trespasses,
   unless they cause physical damage to the real property” under Oklahoma common law); Barnett
   v. Connecticut Light & Power Co., 900 F. Supp. 2d 224, 246 (D. Conn. 2012) (holding the same
   under Connecticut common law); see also, e.g., Babb v. Lee Cty. Landfill SC, LLC, 747 S.E.2d
   468, 476–80 (S.C. 2013) (holding that odors could not give rise to a trespass claim because “South
   Carolina adheres to the traditional rule requiring an invasion by a physical, tangible thing for a
   trespass to exist”)

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   776 (citing Maddy, 737 F. Supp. at 1540; Borland v. Sanders Lead Co., 369 So. 2d 523, 531 (Ala.
   1979)).
             Here, SST does not and cannot allege that the John Does’ signal transmissions invade its
   exclusive possession of the land, nor does SST alternatively aver that fiber-optic signal
   transmissions cause injury to the res. Rather, SST alleges that the “transmission [] of bits of
   data/spectrum” deprives SST “of the full use and enjoyment of the Property,” resulting in
   “damages,” “diminution in the value of the Property,” “diminished rental value,” and “deprivation
   of their right to determine possession and use of the Property.” See, e.g., Am. Compl. ¶¶ 125–127.
   These claims do not pass muster as they do not implicate exclusive possession of, or physical
   injury to, SST’s property. See Poppler v. Wright Hennepin Co-op Elec. Ass’n, 834 N.W.2d 527,
   552 (Minn. Ct. App. 2013) (rejecting a claim for trespass arising from stray electrical current even
   when it “interfered with the [plaintiffs’] use and enjoyment” because “there [wa]s no evidence that
   it interfered with their right to exclusive possession of the [property]”); Wilson, 32 Cal. 3d at 233
   (holding that sound waves cannot constitute a trespass because they do not amount to “an invasion
   of the plaintiff’s interest in the exclusive possession of his land”); Abington Ltd. P’ship v. Talcott
   Mountain Sci. Ctr. for Student Involvement, Inc., 657 A.2d 732, 734 (Conn. Super. Ct. 1994)
   (rejecting a claim of trespass as a matter of law because “the plaintiff has not shown, nor can it,
   that the passage of the electricity affects its possessory interest in the land over which the lines lie
   or causes it any direct injury”); see also San Diego Gas & Elec. Co. v. Superior Ct., 13 Cal. 4th
   893, 936–37 (Cal. 1996) (finding that “electric and magnetic fields” cannot cause “physical
   damage to property” and thus cannot constitute a trespass).
             This Court should not stray onto an island alone. Trespass under this state’s common law
   plainly requires a physical intrusion. On that basis alone, the Court should dismiss pursuant to
   Fla. R. Civ. P. 1.140(b)(6) and/or Fed. R. Civ. P. 12(b)(6). But even if this Court were inclined to
   permit claims for intangible trespass, it should adopt the law of its sister courts, which would
   dismiss SST’s claims as a matter of law because fiber-optic signal transmissions neither invade
   the exclusive possession of land nor cause physical injury to it. Accord, e.g., WorldCom, 320 B.R.
   at 776–77.




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           iii.   If Properly Construed as a Nuisance, SST’s Tort Claim Still Fails

          SST actually raises a flawed nuisance claim under the guise of a trespass claim to avoid
   the more demanding standard this Court applies towards nuisances. Indeed, SST cannot satisfy
   the appropriate standard, so it instead seeks to cherry-pick elements from multiple torts to create a
   new, non-existent one. See Corbett v. E. Air Lines, Inc., 166 So. 2d 196, 201 (Fla. 1st DCA 1964)
   (identifying the “problem” in a complaint where “plaintiffs in their allegations ha[d], in a sense,
   ‘thrown the book’ at the [defendants], using ‘words of art’ characteristic of several separate and
   distinct causes of action, including negligence, trespass, nuisance, and eminent domain (or ‘inverse
   condemnation.’)”). Like in Corbett, when evaluating the “heart” of SST’s allegations for trespass,
   “the essence of [its] complaint is a purported cause of action for private nuisance.” See id.
          Nuisance actions typically arise out of disturbances involving noise, vibration, odors, or
   pollutants. See Bunyak v. Clyde J. Yancey & Sons Dairy, Inc., 438 So. 2d 891, 895 (Fla. 2d DCA
   1983) (quoting 58 Am.Jur.2d, Nuisance § 79). Like these disturbances, signal transmissions are
   intangible. But unlike these, fiber-optic signals over a cable “cannot be directly perceived by the
   senses.” See San Diego Gas, 13 Cal. 4th at 936 (discussing how claims involving “electric and
   magnetic fields” cannot constitute a trespass and must instead be reviewed under the traditional
   nuisance framework).9 All of these intangible intrusions constitute nuisances only when they
   “annoy[] or disturb[] … the free use, possession, or enjoyment of [] property.” See Jones v.
   Trawick, 75 So. 2d 785, 787 (Fla. 1954) (quoting Knowles v. Central Allapattah Properties, Inc.,
   198 So. 819, 822 (Fla. 1940)).
          But SST attempts to sidestep this framework because courts apply heightened scrutiny
   when considering whether a nuisance is actionable. As articulated by the 1st DCA in Corbett:
                  The law of private nuisance is a law of degree; it generally turns on
                  the factual question whether the use to which the property is put is a
                  reasonable use under the circumstances, and whether there is ‘an
                  appreciable, substantial, tangible injury resulting in actual, material,
                  physical discomfort, and not merely a tendency to injure. It must be
                  real and not fanciful or imaginary, or such as results merely in a
                  trifling annoyance, inconvenience, or discomfort.’ … It is not
                  everything in the nature of a nuisance which is prohibited. There

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     See also, e.g., Wilson v. Interlake Steel Co., 32 Cal. 3d 229, 233 (Cal. 1982) (finding, under
   California law, that “[a]ll intangible intrusions, such as noise, odor, or light alone, are dealt with
   as nuisance cases, not trespass” because “actionable trespass may not be predicated upon
   nondamaging noise, odor, or light intrusion”).

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                  are many acts which the owner of land may lawfully do, although it
                  brings annoyance, discomfort, or injury to his neighbor, which are
                  damnum absque injuria.

   Corbett, 166 So. 2d at 201–02 (quoting Antonik v. Chamberlain, 78 N.E.2d 752 (Ohio 1947))
   (emphasis added). Indeed, it is a basic tenet of nuisance law that an actionable nuisance requires
   a showing of substantiality and unreasonableness. See id.; see, e.g., Jones, 75 So. 2d at 788
   (finding that the use of an adjacent property as a cemetery “would substantially interfere with the
   comfort, repose and enjoyment of” plaintiffs’ homes, making the intended use “not ‘fair and
   reasonable’”) (emphasis added).
          Here, SST does not—nor can it—plead facts sufficient to establish that signal transmissions
   over a subsea fiber-optic cable are substantial and unreasonable interferences. It is hard to fathom
   (pun intended) how imperceptible “bits of data/spectrum” transmitted through a cable in an
   underground conduit could substantially interfere with an alleged owner’s use and enjoyment of
   Submerged Lands, which lie several fathoms beneath the ICW. Certainly, SST does not proffer
   facts in its Amended Complaint to substantiate that (or any) degree of interference. SST also does
   not and cannot explain how an imperceptible signal unreasonably interferes with its alleged
   property rights, any more than it could adequately aver that a cellular signal traveling over the
   property’s immediate airspace was per se unreasonable.
          Therefore, even when properly recharacterized as a nuisance claim, SST’s tort claim
   warrants dismissal because SST has failed to allege—nor can it allege—sufficient facts to establish
   that the “transmission [] of bits of data/spectrum” is a substantial and unreasonable interference to
   its property rights. Accord Corbett, 166 So. 2d at 203–04.

          C. SST’s Request for Damages is Both Factually and Legally Erroneous

             i.   The Amended Complaint Fails to Plead Facts Related to Actual Damages

          As previously discussed, SST does not and cannot identify any concrete, distinct, and
   redressable injury caused by the “transmission [] of bits of data/spectrum through the Cable
   System,” Am. Compl. ¶ 125. See supra Section (IV)(A). Indeed, even if the cable’s presence
   could affect property values or infringe on use and enjoyment, whether that cable system is static
   or active—off or on—has no effect. These imperceptible signal transmissions do not possess,
   damage, or alter the property. For the same reasons that it cannot allege an injury-in-fact, SST



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   cannot prove calculable damages that are logically derived from the “transmission [] of bits of
   data/spectrum.”
          Nevertheless, SST baldly asserts that it is owed “damages in an amount to be proven at
   trial.” See, e.g., Am. Compl. ¶¶ 126–127. SST bases its theory of recovery on vague assertions
   that it has “be[en] deprived of the full use and enjoyment of the Property” and its “right to
   determine possession and use of th[at] Property.” See, e.g., id. Without any substantiation, SST
   also hypothesizes that it has suffered “diminution in the value of the Property” and “diminished
   rental value.” See, e.g., id. These speculative and conclusory allegations are insufficient at this
   stage. SST rests its entire case against the John Does on a new tort theory—one never before
   recognized under Florida law—intangible trespass. But even in the limited jurisdictions that
   recognize intangible trespass under certain narrow circumstances, courts do not presume damages
   as they would for trespasses arising from tangible intrusions. See WorldCom, 320 B.R. at 776;
   Maddy, 737 F. Supp. at 1540; Borland, 369 So. 2d at 531. Accordingly, SST’s generalized
   assertions regarding injury and damages are inadequately pled and insufficient to properly put the
   John Does on notice regarding the value at stake in this litigation.
          But even if these generalized assertions were adequate—which they are not—the Court has
   “no obligation to accept internally inconsistent factual claims, conclusory allegations, unwarranted
   deductions, or mere legal conclusions made by a party.” Shands Teaching Hosp. & Clinics, Inc.
   v. Est. of Lawson ex rel. Lawson, 175 So. 3d 327, 331 (Fla. 1st DCA 2015). Here, SST’s claims
   of injury and damages are facially absurd. SST strains credulity by asserting any impact to its use
   and enjoyment based on imperceptible “bits of data/spectrum” transmitted through a cable in an
   underground conduit in the ICW.          And it defies logic to infer that those same signal
   transmissions—which are ubiquitous in our society—diminish the sale or rental values of the
   Submerged Lands. The effect on value here is no different than the diminution of value caused by
   cellular, WiFi, or Bluetooth signals travelling across the Submerged Lands immediate airspace (or
   water column in the ICW for that matter): ZERO. SST has not suffered any cognizable injury and
   any award of damages would be improper.

            ii.   SST’s Request for Disgorgement of Profits Relies on an Improper Theory of
                  Recovery

          Finally, SST avers a meritless theory of recovery: disgorgement of profits. See Am.
   Compl. ¶ 157 (“SST is entitled … to disgorgement in the nature of John Does 1-100’s mesne


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   profits.”); see also id. ¶¶ 131(b), 157(e), 217(b). Even if SST were entitled to damages—which it
   is not—a demand for disgorgement of profits here is unfounded under Florida law.10
          Regardless of whether the backbone of SST’s case is characterized as a trespass or a
   nuisance, the value of any damages would be tied to the diminished sale or rental value of its
   property. See generally Courtney Enterprises, Inc. v. Publix Super Markets, Inc., 788 So. 2d 1045,
   1048 (Fla. 2d DCA 2001) (collecting cases; recognizing the proper value of damages for both
   trespass and nuisance claims to be a “diminution in property value”); see also Babb v. Lee Cty.
   Landfill SC, LLC, 747 S.E.2d 468, 474 (S.C. 2013) (reviewing a claim for intangible trespass under
   South Carolina law and noting that because “[t]he damages recoverable for trespass and nuisance
   [are] strictly limited to damages to one’s property interests, the only proper measure of them is the
   value of the property”).
          Indeed, “the common law action of trespass for [disgorgement of] profits has had no
   separate existence in Florida since 1859.” Wilkerson v. Gibbs, 405 So. 2d 1053, 1057 (Fla. 1st
   DCA 1981). Florida law only recognizes three theories of damages for trespass. The first, and
   most common, theory involves the diminution of land value. See, e.g., Nat’l Rating Bureau, Inc.
   v. Fla. Power Corp., 94 So. 2d 809, 811 (Fla. 1957); Gasque v. Ball, 62 So. 215, 216 (Fla. 1913);
   see also Stockman v. Duke, 578 So. 2d 831, 832 (Fla. 2d DCA 1991) (“[T]he usual measure of
   damages in an action for trespass to real property is the difference in value of the land before and
   after the trespass.”). The second theory relates to a continuing trespass caused by a “structure,
   chattel or other thing which has been placed on the land,” and its measure of damages includes
   “the reasonable rental value of the space occupied” and “the reasonable cost of remov[al].” See
   Anchorage Yacht Haven, Inc. v. Robertson, 264 So. 2d 57, 61 (Fla. 4th DCA 1972); see also Kish
   v. McDonald’s Corp., 564 So. 2d 1177, 1180 (Fla. 4th DCA 1990) (holding that the “proper
   measure of damages where a trespass has occurred and the trespasser has refused to remove itself”
   is “the reasonable rental value”). The third theory includes the cost of replacing property or
   chattels taken from the land—a circumstance not alleged here. See, e.g., Fiske v. Moczik, 329 So.




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      It is not immediately clear how any court could even apportion profits based upon the facts
   alleged. To the extent that the cable system crosses underground by SST’s property, that distance
   would represent only a tiny fraction of the cable system’s full length. Any value of profit
   proportional to that segment of cabling would be de minimus.

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   2d 35, 38 (Fla. 2d DCA 1976) (awarding in damages “the reasonable cost of replacing the trees []
   removed from [the] property”).
          Florida law simply does not recognize disgorgement of profits as a remedy for claims of
   trespass; SST’s assertions to the contrary are wrong. So too for its redundant claims of ejectment
   and unjust enrichment. See Kester v. Bostwick, 15 So. 2d 201, 205 (Fla. 1943) (“The general rule
   is that mesne profits [for an ejectment action] are measured by the rental value of the property or
   its value for use and occupation during the time defendant was shown to have been wrongfully in
   possession.”) (emphasis added); see also, e.g., Am. Safety Ins. Serv., Inc. v. Griggs, 959 So. 2d
   322, 332 (Fla. 5th DCA 2007) (finding that damages for unjust enrichment equate to the “value of
   the benefit conferred”).
          In any event, as with SST’s specious claim of intangible trespass, see supra
   Section (IV)(B), its erroneous theory on damages is nothing new. Courts have reviewed nearly
   identical claims on nearly identical facts elsewhere in the country. For example, in Martin v.
   Comcast Cablevision Corp., asserting theories of trespass and unjust enrichment, a property owner
   sought “a portion of the profits [a cable company] earned by providing cable service while the
   cables ran across [his] property.” 338 P.3d 107, 110 (N.M. Ct. App. 2014). The Martin court
   rejected the property owner’s theory of recovery because the cable services and their “resulting
   income” derived from the cable company’s “business enterprise and not the use of [the] land.” See
   id. at 111. Moreover, that court opined that the measure of damages and the value of the benefit
   conferred were “better understood as the savings [] realized by using [the] property,” which
   equated to “the rental value of the land.” See id. Just as in Martin, where profits were generated
   from a trespassing cable, the demand for disgorgement of profits here is improper.11




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      Moreover, liability, if any, would rest with the owner and operator of the cable—not the
   individual companies whose signals allegedly transmit across it. Even the litigious property owner
   in Martin implicitly understood this degree of separation and had better sense than to add frivolous
   claims against Time Warner, Disney, Viacom, or Fox, whose television signals all presumably
   broadcast across the allegedly trespassing cable. Indeed, just as attenuated and improper as a
   demand for the disgorgement of profits may be against the cable owner and operator, it is even
   more inapt for the John Does.


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           D. SST’s Remaining Claims Warrant Dismissal

           As previously discussed, all of SST’s claims rise and fall with its claim for trespass. See
   supra FN 1 (and accompanying discussion). However, the remaining claims fail for various other
   reasons as well.
           Count VI: Ejectment. The defects in SST’s trespass claim overlap with those in its
   ejectment claim. “Generally speaking, the elements to be proven in an action for ejectment are
   that (1) the plaintiff has title to the land, (2) the plaintiff has been wrongfully dispossessed or
   ousted, and (3) the plaintiff has suffered damages.” Partridge v. Partridge, 940 So. 2d 611, 613
   (Fla. 4th DCA 2006) (internal quotations omitted). Here, not only are its conclusory allegations
   related to damages facially absurd, see supra Section (IV)(C), SST cannot establish that it has been
   actually dispossessed or ousted. Just as an action for trespass presupposes a physical intrusion,
   see supra Section (IV)(B)(i), so too does an action for ejectment, see, e.g., United States v. Causby,
   328 U.S. 256, 265 n.10 (1946). Moreover, to find dispossession or ouster by way of “bits of
   data/spectrum,” would otherwise empower any property owner in the state to seek ejectment for
   every passing cellular signal or radio wave travelling across her property’s immediate airspace.
   Accordingly, SST’s claim for ejectment fails.
           Count IX: Injunctive Relief. For its injunctive relief count to survive, SST must prevail
   on some alternative claim because injunctive relief itself is not an independent cause of action.
   See generally Alabama v. U.S. Army Corps of Engineers, 424 F.3d 1117, 1127 (11th Cir. 2005)
   (“[A]ny motion or suit for either a preliminary or permanent injunction must be based upon a cause
   of action, such as a constitutional violation, a trespass, or a nuisance.”); see also Rubinstein v.
   Keshet Inter Vivos Tr., No. 17-cv-61019, 2018 WL 3730875, at *7 (S.D. Fla. June 11, 2018)
   (collecting cases). Since none of its other claims can pass muster, SST’s claim for injunctive relief
   necessarily fails as well.
           Count XII: Unjust Enrichment. Finally, because it has an adequate legal remedy, SST is
   plainly barred from raising any “theory of unjust enrichment [because that claim] is equitable in
   nature.” See Bowleg v. Bowe, 502 So. 2d 71, 72 (Fla. 3d DCA 1987); Fulton v. Brancato, 189 So.
   3d 967 (Fla. 4th DCA 2016). Moreover, unjust enrichment cannot be used as a fallback claim in
   the alternative—as SST’s Amended Complaint does here—when “the factual allegations
   underlying the [legal claim] and the unjust enrichment claims are exactly the same.” See Guerrero




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   v. Target Corp., 889 F. Supp. 2d 1348, 1357, n.7 (S.D. Fla. 2012); see, e.g., Edd Helms Elec.
   Contracting, Inc. v. Barnett Bank of S. Fla., N.A., 531 So. 2d 238, 238 (Fla. 3d DCA 1988).
          Regardless, to state a cause of action for unjust enrichment, SST must establish that:
   “(1) plaintiff has conferred a benefit on the defendant, who has knowledge thereof; (2) defendant
   voluntarily accepts and retains the benefit conferred; and (3) the circumstances are such that it
   would be inequitable for the defendant to retain the benefit without paying the value thereof to the
   plaintiff.” Extraordinary Title Servs., LLC v. Florida Power & Light Co., 1 So. 3d 400, 404 (Fla.
   3d DCA 2009). Here, SST does not, and cannot, sufficiently allege that it directly conferred any
   benefit on the John Does. See, e.g., id. (affirming a dismissal of an unjust enrichment claim where
   the plaintiff could not “establish that it conferred a direct benefit” on the defendant) (emphasis
   added); GVB MD v. Aetna Health Inc., No. 19-cv-22357, 2019 WL 6130825, at *7 (S.D. Fla. Nov.
   19, 2019) (finding that any benefit conferred on the defendant was “indirect at best” and the
   plaintiff therefore “c[ould ]not state a claim for unjust enrichment under Florida law”). SST’s
   threadbare allegation of a conferred benefit, see Am. Compl. ¶ 215, fails to identify any specific
   benefit conferred by SST at all—let alone directly so. Any benefit the John Does may have
   obtained as a result of their use of the cables necessarily came from the Primary Defendants as the
   owners and operators of the cables, not from SST. Further, SST does not, and cannot, allege that
   the John Does had the requisite knowledge of any supposed benefit conferred by SST because it
   cannot establish that the John Does knew the fiber-optic cables were allegedly traversing privately
   owned land or that SST was conveying any benefit. See, e.g., Extraordinary Title Servs., 1 So. 3d
   at 404. For these reasons, SST’s claim for unjust enrichment fails.
                                         V.     CONCLUSION

          SST has failed to aver any concrete, distinct, and redressable injury caused by the John
   Does. And SST has erroneously fabricated its claims and theory of recovery.                For the
   aforementioned reasons, this Court should grant the John Does’ Motion to Dismiss and dismiss
   SST’s Amended Complaint with prejudice.
   Dated: April 23, 2021                                Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on April 23, 2021, a true and correct copy of the foregoing was

   electronically filed with the Clerk of the Court using the CM/ECF system, which will send

   notification of such filing to the CM/ECF participants registered to receive service in this case

   listed below.

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